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       Health Authority, an agency of the State of Oregon, and
       Patrick Allen in his official capacity as director of the
       Oregon Health Authority



                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                       EUGENE DIVISION
 FAMILYCARE, INC., an Oregon non-profit                                Case No. 6:18-cv-00296-MO
 corporation,
                                         Plaintiff,    DECLARATION OF DAVID BADEN IN
                                                       SUPPORT OF DEFENDANT OREGON
                         v.                            HEALTH AUTHORITY’S MOTION TO
                                                                               STAY
 OREGON HEALTH AUTHORITY, an agency
 of the State of Oregon, and PATRICK
 ALLEN, both individually and in his official
 capacity as director of the Oregon Health
 Authority, and LYNNE SAXTON,
                                      Defendants.


       I, David Baden, declare:
       1.    I am the Chief Financial Officer of the Oregon Health Authority. I make this
declaration of my own personal knowledge. The following statements are true and correct and,
if called upon, I could competently testify to the facts averred herein.




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        2.       I became CFO of OHA in 2019. Before becoming CFO of OHA, I was the Deputy
CFO of the U.S. Centers for Disease Control and Prevention. As CFO of OHA, I am responsible
for managing, planning, and implementing all the financial activities of the agency. As a
member of the core leadership team of OHA, I am actively involved in the management of the
litigation. In addition, OHA’s Actuarial Services Unit reports directly to me and I am in charge
of overseeing Medicaid rate-setting.
        3.       OHA and Oregon are at a critical point in the coronavirus pandemic. The spread of
the virus is significantly worse than it was over the summer. Infections are three-times the rate
they were in July. The state is facing a winter surge and working to manage guidance and
restrictions to control the spread. In addition, Oregon, like the rest of the country, is facing the
introduction of a new coronavirus variant that is more contagious. That variant has arrived in
Oregon. In addition to responding to the accelerated pace of infection, OHA also runs Oregon’s
vaccine program. The agency is responsible for ensuring that Oregonians are rapidly, safely, and
equitably vaccinated. Distributing a two-dose vaccine that requires special transportation and
storage requirements, according to carefully defined eligibility criteria, is an extraordinarily
complex challenge. The combined challenges of responding to infections and managing the
distribution of the vaccine demands an enormous time commitment from OHA, its leadership,
and its staff.
        4.       Beginning on January 2, 2021, I became the Lead Executive Sponsor for Oregon’s
vaccine program. That means I am the single executive in charge of managing Oregon’s vaccine
distribution. My responsibilities include determining where the vaccine gets shipped, ensuring
that vaccine providers have all of the tools necessary to safely store and administer the vaccine,
developing and publishing messaging to the public regarding access to and the safety of the
vaccine, and reporting to the public and the legislature about the progress of our work.
        5.       My work leading the vaccine program completely consumes my time. I am working
14 hours a day, seven days a week. At least 95% of those hours are dedicated to vaccine work. I
have deferred my other CFO responsibilities. I do not expect this time commitment to
significantly change in the next 60 days.

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          6.   Given the pandemic and my responsibilities to coordinate vaccine distribution, I
presently have no additional capacity. I cannot dedicate any additional hours to litigation. If I
had to spend time managing and participating in this litigation, I would be forced to forego other
vitally important work that protects the health and safety of Oregonians.

          I declare under penalty of perjury that the foregoing is true and correct.

          DATED this 22 day of January, 2021.

                                                 ____________________________________
                                                 David Baden

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